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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                             CR 13–41–GF–DLC
                      Plaintiff,
                                                              ORDER
        vs.


 STUART MORGAN PATTIE,


                      Defendant.



      United States Magistrate Judge Keith Strong entered Findings and

Recommendation in this matter on June 20, 2013. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

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      Judge Strong recommended this Court accept Stuart Morgan Pattie’s guilty

plea after Pattie appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered his plea of guilty to one count of Conspiracy to Possess

With Intent to Distribute Methamphetamine (Count I), as set forth in the

Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts II, III, and IV of the Indictment.

      I find no clear error in Judge Strong’s Findings and Recommendation (doc.

56), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS HEREBY ORDERED that Stuart Morgan Pattie’s

motion to change plea (doc. 44) is GRANTED.

      DATED this 9th day of July 2013.




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